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lN THE UNITED STATES DISTRJCT COURT FOR THE WESTERN D-C-
DISTRICT OF TENNESSEE, WESTERN DIVISION AT MEMPHISUS AU(,‘ 31 PH b 5
’ b

 

LUCILLE PITTMAN, by and agg€ 'UC‘S“*L§ 9
through her Next Friend and Attomey-in-Fact, 7 mw
VIOLA P. SYKES,
Plairitiff,
v. NO. 04-3003-DP
JURY DEMANDED

MOHAMAD J. AKBIK, M.D.;

MOHAMAD J. AKBIK, M.D., P.C.;

GREGORY EUGENE VANDEVEN, M.D.;

SARAH GRIFFIN, R.N.;

KAREN FRANKLIN, L.P.N.;

KATHY WESSELS, R.N.; and

DMC-MEMPHIS, INC. dfb/a DELTA MEDICAL CENTER,

Defendants.

 

ORDER GRANT]NG MOTION FOR EXTENSION OF TIME WITHIN
WHICH TO FILE PLAINTIFF ’S REPLY TO MOTION OF DEFENDANT GREGORY E.
VANDEVEN, M.D. FOR SUMMARY JUDGMENT

 

Pursuant to PED. R. CIV. P. 6(b) and Local Rule 7.2, and for good cause shown, the
Motion for Extension of Time Within Which to File Plaintift’s Rep}y to Motion ofDefendant
Gregory E. Vandeven, M.D. for Summary Judgment is herby GRANTED. Plaintift` has up to
and including Friday, October 21, 2005, Within which to file her reply to the pending Motion of

Defendant Gregory E. Vandeven, M.D. for Summary Judgment.

IT IS SO ORDERED this the:§£ day of c 22¢< fé,¢ , 2005.

 

    

w|th Rule 58 and .`9(3} `»`..JH` on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CV-03003 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
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